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        In the United States Court of Federal Claims
                                      No. 09-465C
                                 (Filed: July 31, 2009)

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                                         *
GCC ENTERPRISES, INC.,                   *
                                         *
                    Plaintiff,           *
                                         *
v.                                       *
                                         *
THE UNITED STATES,                       *
                                         *
                    Defendant.           *
                                         *
* * * * * * * * * * * * * * * * *

                                        ORDER

    Plaintiff’s unopposed motion, filed July 29, 2009, for a protective order is
GRANTED.

      IT IS SO ORDERED.




                                                s/Nancy B. Firestone
                                                NANCY B. FIRESTONE
                                                Judge
